Case 20-22980-AJC Doc 21 Filed 01/08/21 Page 1 of 3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
[m] 1st Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Julio Chirino JOINT DEBTOR: CASE NO.: 20-22980-AJC
SS#: xxx-xx- 9314 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [m] Included L] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set (] Included [lm] Not included
out in Section III

 

 

 

 

Nonstandard provisions, set out in Section VIII [_] Included [m] Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,977.34 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: CI NONE CT] PRO BONO
Total Fees: $5225.00 Total Paid: $690.00 Balance Due: $4535.00
Payable $130.00 /month (Months 1 to 34 )
Payable $115.00 /month (Months 35 to 35 _)

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4500 Attorneys Fees + $525 MTN to value + $525 Min to value + $525 Mtn to value + $150 Cost = $5225.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [lm] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
B. VALUATION OF COLLATERAL: [ | NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [li] NONE
2. VEHICLES(S): [[] NONE

LF-31 (rev. 10/3/17) Page 1 of 3
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 20-22980-AJC Doc 21 Filed 01/08/21 Page 2 of 3
Debtor(s): Julio Chirino Case number: 20-22980-AJC
1. Creditor: Biltmore Finance Corp Value of Collateral: $24,000.00 Payment
Address: 12484 NW § River Drive Amount of Creditor's Lien: $24,180.63 Total paid in plan: $27,545.53
#323
Miami, FL 33178
= Interest Rate: 5.25% ___ $459.09 _/month (Months _1 to 60 )
Last 4 Digits of Account No.: 7851
VIN: XK YD49X3EJ398633
Description of Collateral:
2014 Kenworth T680 Tractor Mule
Check one below:
alain incurred 910 days or more pre-
petition
cam incurred less than 910 days pre-
petition
2. Creditor: Engs Commercial Finance Value of Collateral: $25,964.38 Payment
Address: | Pierce Place #1100 Amount of Creditor's Lien: $27,243.05 _ | Total paid in plan: $29,577.56
Itasca, IL 60143
Last 4 Digits of Account No.: 4787 Interest Rate: 5.25% $492.96 _/month (Months 1 to 60 )
VIN: 5MAPA4828JA043885
Description of Collateral:
2018 Mac Flat Bed
Check one below:
alain incurred 910 days or more pre-
petition
oon incurred less than 910 days pre-
petition
3. Creditor; Mercedes-Benz Financial Value of Collateral: $37,699.85 Payment
Services ys
Amount of Creditor's Lien: $42,767.00 _ | Total paid in plan: $40,634.97
Address: POB 6385
Roanoke, TX 76262
Interest Rate: 2.99% $677.25 — /month (Months _1 to 60 )

Last 4 Digits of Account No.: 9001
VIN: 55SWF6EB8HU 180815

 

Description of Collateral:
2017 Mercedes-Benz C43 AMG

 

Check one below:

alain incurred 910 days or more pre-
petition

cam incurred less than 910 days pre-
petition

 

 

 

3. PERSONAL PROPERTY: [|] NONE

C. LIEN AVOIDANCE [mg] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

 

[§] NONE

LF-31 (rev. 10/3/17)

Page 2 of 3

 
Case 20-22980-AJC Doc 21 Filed 01/08/21 Page 3 of 3
Debtor(s): Julio Chirino Case number: 20-22980-AJC

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[§] NONE
IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lm] NONE
B. INTERNAL REVENUE SERVICE: [| NONE
Total Due: $781.93 Total Payment $13.03
Payable: $13.03 /month (Months 1 to 60 )

 

 

 

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [m] NONE

V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $7.28 ‘month (Months 1 to 34 )
Pay $22.28 /month (Months 35 to 35_)

Pay $137.28 /month (Months 36 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[§] NONE
VII. INCOME TAX RETURNS AND REFUNDS: [mj] NONE
VIII. NON-STANDARD PLAN PROVISIONS [mj] NONE

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Julio Chirino Date Date
/s/Robert Sanchez, Esq January 8, 2021
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev. 10/3/17) Page 3 of 3
